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U.S. Department of Justice

Leah B. Foley
United States Attorney
District of Massachusetts

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Boston, Massachusetts 02210

April 28, 2025
Cara McNamara, Esq. ee
Assistant Federal Public Defender rt es \, tied
Boston Federal Defender Office aLitiek a Sg ss ” essa
51 Sleeper Street, Sth Floor sal SN Lik ETL
Boston, MA 02110
Sslal So.

Re: United States v. Glenroy Miller
Criminal Nos. 24-cr-10010-NMG; 24-10021-NMG; and 25-cr-10040-NMG

Dear Attorney McNamara:

The United States Attorney for the District of Massachusetts (the “U.S. Attorney”) and your
client, Glenroy Miller (“Defendant”), agree as follows, pursuant to Federal Rule of Criminal Procedure

11(c)(1)(B):
1. Change of Plea
At the earliest date available from the Court, Defendant will plead guilty to:

a. 24-cr-10010-NMG:

Count One: Felon in possession of a firearm, in violation of 18 U.S.C. § 922(g)(1);

Count Two: Felon in possession of a firearm and ammunition, in violation of 18 U.S.C.
§ 922(g)(1);

Count Three: Felon in possession of ammunition, in violation of 18 U.S.C. § 922(g)(1);

Count Four: Possession of a machinegun, in violation of 18 U.S.C. § 922(0); and

Count Five: Trafficking in firearms, in violation of 18 U.S.C. § 933(a)(1).

b. 24-cr-10021-NMG:

Count One: Bank fraud conspiracy, in violation of 18 U.S.C. § 1349.

c. 25-cr-]10040-NMG:

Count One: Bank fraud conspiracy, in violation of 18 U.S.C. § 1349;
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Count Two: Bank fraud and aiding and abetting, in violation of 18 U.S.C. §§ 1344 and 2; and
Count Eight: Conspiracy to steal and possess stolen mail, in violation of 18 U.S.C. § 371.

Defendant admits that Defendant committed the crimes specified in these counts and is in fact
guilty of them.

The U.S. Attorney agrees not to charge Defendant pursuant to 18 U.S.C. §§ 1005, 1014, or 1028A
based on the conduct underlying the crimes charged these cases that are known to the U.S. Attorney at
this time.

2. Penalties

Defendant faces the following maximum penalties:

a. 24-cr-10010-NMG:

Counts One, Two, Three, and Five: incarceration for 15 years; supervised release for 3 years; a
fine of $250,000; a mandatory special assessment of $100; and forfeiture to the extent charged
in the Indictment.

Count Four: incarceration for 10 years; supervised release for 3 years; a fine of $250,000; a
mandatory special assessment of $100; and forfeiture to the extent charged in the Indictment.

b. 24-cr-10021-NMG:

Count One: incarceration for 30 years; supervised release for 5 years; a fine of $1,000,000; a
mandatory special assessment of $100; restitution; and forfeiture to the extent charged in the
Indictment.

c. 25-cr-10040-NMG:

Counts One and Two: incarceration for 30 years; supervised release for 5 years; a fine of
$1,000,000; a mandatory special assessment of $100; restitution; and forfeiture to the extent
charged in the Indictment.

Count Eight: incarceration for 5 years; supervised release for 3 years; a fine of $250,000; a
mandatory special assessment of $100; restitution; and forfeiture to the extent charged in the
Indictment.

3. Sentencing Guidelines
The parties agree on the following calculations:

a) Docket Nos. 24-cr-10021 and 25-cr-10040 are grouped for guideline calculation
purposes because the offense level is determined largely on the basis of the total
amount of harm or loss. USSG § 3D1.2(d);

b) Docket No. 24-cr-10010 is excluded from the above-mentioned group. USSG
§ 3D1.2(d);
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24-cr-10021 and 25-cr-10040 (Group 1):

c)

d)

g)

h)

Defendant’s base offense level is 7, because the defendant was convicted of an offense
referenced to this guideline; and that offense has a statutory maximum term of
imprisonment of 20 years or more. USSG § 2B1.1(a)(1);

Defendant’s offense level is increased by 12, because Defendant caused a loss of more
than $250,000 but not more than $550,000. USSG § 2B1.1(b)(1)(G);

Defendant’s offense level is increased by 4, because Defendant was an organizer or
leader of criminal activity that involved five or more participants or was otherwise
extensive. USSG § 3B1.1(a);

Defendant’s offense level is increased by 2, because it involved more than 10 victims.
USSG § 2B1.1(b)(2);

The U.S. Attorney will submit that the Defendant’s offense level is increased by 2,
because the defendant was in the business of receiving and selling stolen property.
USSG § 2B1.1(b)(4). Defendant reserves the right to argue that this enhancement
does not apply.

The Defendant argues that the resulting adjusted offense level for this group is 25.
The U.S. Attorney argues that the resulting adjusted offense level for this group is 27,

24-cr-10010 (Group 2):

i)

J)

k)

I)

Defendant’s base offense level is 20 because the offense involved a firearm that is
described in 26 U.S.C. § 5845(a); and Defendant was a prohibited person at the time
of the offense; and also because Defendant was convicted under 18 U.S.C. § 933.
USSG § 2K2.1(a)(4)(B);

Defendant’s offense level is increased by 2, because the offense involved three to
seven firearms. USSG § 2K2.1(b)(1);

Defendant’s offense level is increased by 2, because Defendant sold a firearm
knowing or having reason to believe that such conduct would result in the receipt of
the firearm by an individual who was a prohibited person. USSG § 2K2.1(b)(5)(B);

Defendant’s resulting adjusted offense level for this group is 24;

Combined offense level:

m) One additional unit is assigned because the adjusted offense level for Group 2 is three

n)

levels less serious than Group 1. USSG § 3D1.4(a);

The combined offense level is 27 because the Group with the highest offense level is
not increased with one unit. USSG § 3D1.4; and
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0) Defendant’s offense level is decreased by 3, because Defendant has accepted
responsibility for Defendant’s crimes. USSG § 3E1.1.

Defendant understands that the Court is not required to follow this calculation or even to sentence
Defendant within the Guidelines and that Defendant may not withdraw Defendant’s guilty plea if
Defendant disagrees with how the Court calculates the Guidelines or with the sentence the Court
imposes.

Defendant also understands that the government will object to any reduction in Defendant’s
sentence based on acceptance of responsibility if: (a) at sentencing, Defendant (directly or through
counsel) indicates that Defendant does not fully accept responsibility for having engaged in the conduct
underlying each of the elements of the crimes to which Defendant is pleading guilty; or (b) by the time
of sentencing, Defendant has committed a new federal or state offense, or has in any way obstructed
justice.

If, after signing this Agreement, Defendant’s criminal history score or Criminal History Category
is reduced, the U.S. Attorney reserves the right to seek an upward departure under the Guidelines.

Nothing in this Plea Agreement affects the U.S. Attorney’s obligation to provide the Court and
the U.S. Probation Office with accurate and complete information regarding this case.

4, Sentence Recommendation

The U.S. Attorney agrees to recommend the following sentence to the Court:

a) incarceration within the Guidelines sentencing range as calculated by the parties in
Paragraph 3 above;

b) a fine within the Guidelines sentencing range as calculated by the parties, unless the
Court finds that Defendant is not able, and is not likely to become able, to pay a fine;

c) 36 months of supervised release;

d) a mandatory special assessment of $900, which Defendant must pay to the Clerk of
the Court by the date of sentencing;

e) restitution of $158,689.80, plus prejudgment interest. $134,000 of the total restitution _
shall be joint and several with Nadaje Hendrix (Docket No. 24-cr-10021-JEK); and

f) forfeiture as set forth in Paragraph 6.
Defendant agrees that all criminal monetary penalties, including special assessment, restitution,

forfeiture, and/or fine imposed shall be due and payable immediately, and further agrees that any Court-
ordered repayment schedule does not preclude further enforcement or collection by the United States.

5. Waiver of Appellate Rights and Challenges to Conviction or Sentence

Defendant has the right to challenge Defendant’s conviction and sentence on “direct appeal.”
This means that Defendant has the right to ask a higher court (the “appeals court”) to look at what
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happened in this case and, if the appeals court finds that the trial court or the parties made certain
mistakes, overturn Defendant’s conviction or sentence. Also, in some instances, Defendant has the right
to file a separate civil lawsuit claiming that serious mistakes were made in this case and that Defendant’s
conviction or sentence should be overturned.

Defendant understands that Defendant has these rights, but now agrees to give them up.
Specifically, Defendant agrees that:

a) Defendant will not challenge Defendant’s conviction on direct appeal or in any other
proceeding, including in a separate civil lawsuit; and

b) Defendant will not challenge Defendant’s sentence, including any court orders related
to forfeiture, restitution, fines or supervised release, on direct appeal or in any other
proceeding, including in a separate civil lawsuit.

Defendant understands that, by agreeing to the above, Defendant is agreeing that Defendant’s
conviction and sentence will be final when the Court issues a written judgment after the sentencing
hearing in this case. That is, after the Court issues a written judgment, Defendant will lose the right to

appeal or otherwise challenge Defendant’s conviction and sentence, regardless of whether Defendant
later changes Defendant’s mind or finds new information that would have led Defendant not to agree to

give up these rights in the first place.

Defendant is agreeing to give up these rights at least partly in exchange for concessions the US.
Attorney is making in this Agreement.

The parties agree that, despite giving up these rights, Defendant keeps the right to later claim that
Defendant’s lawyer rendered ineffective assistance of counsel, or that the prosecutor or a member of law
enforcement involved in the case engaged in misconduct serious enough to entitle Defendant to have
Defendant’s conviction or sentence overturned.

6. Forfeiture

Defendant understands that the Court will, upon acceptance of Defendant’s guilty plea, enter an
order of forfeiture as part of Defendant’s sentence, and that the order of forfeiture may include assets
directly traceable to Defendant’s offenses, assets used to facilitate Defendant’s offenses, substitute assets
and/or a money judgment equal to the value of the property derived from, or otherwise involved in, the
offenses.

The assets to be forfeited specifically include, without limitation, the following:

a. An amount to be determined at sentencing, to be entered in the form of an Order of
Forfeiture (Money Judgment).

Defendant admits that amount of the forfeiture money judgment is subject to forfeiture on the
grounds that it is equal to the amount of proceeds the defendant derived from or obtained directly or
indirectly from the offenses.

Defendant acknowledges and agrees that the amount of the forfeiture money judgment represents
proceeds the Defendant obtained (directly or indirectly), and/or facilitating property and/or property
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involved in, the crimes to which Defendant is pleading guilty and that, due at least in part to the acts or
omissions of Defendant, the proceeds or property have been transferred to, or deposited with, a third
party, spent, cannot be located upon exercise of due diligence, placed beyond the jurisdiction of the
Court, substantially diminished in value, or commingled with other property which cannot be divided
without difficulty. Accordingly, Defendant agrees that the United States is entitled to forfeit as
“substitute assets” any other assets of Defendant up to the value of the now missing directly forfeitable
assets.

Defendant agrees to consent to the entry of an order of forfeiture for such property and waives
the requirements of Federal Rules of Criminal Procedure 11(b)(1)(), 32.2, and 43(a) regarding notice
of the forfeiture in the charging instrument, advice regarding the forfeiture at the change-of-plea hearing,
announcement of the forfeiture at sentencing, and incorporation of the forfeiture in the judgment.
Defendant understands and agrees that forfeiture shall not satisfy or affect any fine, lien, penalty,
restitution, cost of imprisonment, tax liability or any other debt owed to the United States.

If the U.S. Attomey requests, Defendant shall deliver to the U.S. Attorney within 30 days after
signing this Plea Agreement a sworn financial statement disclosing all assets in which Defendant
currently has any interest and all assets over which Defendant has exercised control, or has had any legal
or beneficial interest. Defendant further agrees to be deposed with respect to Defendant’s assets at the
request of the U.S. Attorney. Defendant agrees that the United States Probation and Pretrial Services
Office may share any financial information about the Defendant with the United States Attorney’s
Office.

Defendant also agrees to waive all constitutional, legal, and equitable challenges (including direct
appeal, habeas corpus, or any other means) to any forfeiture carried out in accordance with this Plea
Agreement.

Defendant hereby waives and releases any claims Defendant may have to any vehicles, currency, or
other personal property seized by the United States, or seized by any state or local law enforcement
agency and turned over to the United States, during the investigation and prosecution of this case, and
consents to the forfeiture of all such assets.

7. Civil Liability

This Plea Agreement does not affect any civil liability, including any tax liability, Defendant has
incurred or may later incur due to Defendant’s criminal conduct and guilty plea to the charges specified
in Paragraph 1 of this Agreement.

8. Breach of Plea Agreement

Defendant understands that if Defendant breaches any provision of this Agreement, violates any
condition of Defendant’s pre-trial release or commits any crime following Defendant’s execution of this
Plea Agreement, Defendant cannot rely upon such conduct to withdraw Defendant’s guilty plea.
Defendant’s conduct, however, would give the U.S. Attorney the right to be released from the U.S.
Attorney’s commitments under this Agreement, to pursue any charges that were, or are to be, dismissed
under this Agreement, and to use against Defendant any of Defendant’s statements, and any information
or materials Defendant provided to the government during investigation or prosecution of Defendant’s
case—even if the parties had entered any earlier written or oral agreements or understandings about this
issue.
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Defendant also understands that if Defendant breaches any provision of this Agreement or
engages in any of the aforementioned conduct, Defendant thereby waives any defenses based on the
statute of limitations, constitutional protections against pre-indictment delay, and the Speedy Trial Act,
that Defendant otherwise may have had to any charges based on conduct occurring before the date of
this Agreement.

9, Who is Bound by Plea Agreement

This Agreement is only between Defendant and the U.S. Attorney for the District of
Massachusetts. It does not bind the Attorney General of the United States or any other federal, state, or
local prosecuting authorities.

10. Modifications to Plea Agreement

This Agreement can be modified or supplemented only ina written memorandum signed by both
parties, or through proceedings in open court.

If this letter accurately reflects the agreement between the U.S. Attorney and Defendant, please
have Defendant sign the Acknowledgment of Plea Agreement below. Please also sign below as Witness.
Return the original of this letter to Assistant U.S. Attorneys Kriss Basil, Lucy Sun, or Philip Cheng.

Sincerely,
LEAH B. FOLEY

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WILLIAM
Chief,
Criminal Division

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KRISS BASIL
LUCY SUN
PHILIP CHENG
Assistant U.S. Attorneys
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ACKNOWLEDGMENT OF PLEA AGREEMENT

I have read this letter and discussed it with my attorney. The letter accurately presents my
agreement with the United States Attorney’s Office for the District of Massachusetts. There are no
unwritten agreements between me and the United States Attorney’s Office, and no United States
government official has made any unwritten promises or representations to me in connection with my
guilty plea. I have received no prior offers to resolve these cases.

I understand the crimes | am pleading guilty to, and the maximum penalties for those crimes. I
have discussed the Sentencing Guidelines with my lawyer, and I understand the sentencing ranges that

may apply.

I am satisfied with the legal representation my lawyer has given me, and we have had enough
time to meet and discuss my cases. We have discussed the charges against me, possible defenses I might
have, the terms of this Agreement and whether I should go to trial.

I am entering into this Agreement freely and voluntarily and because I am in fact guilty of the
offenses. | believe this Agreement is in my best interest.

Nye Ml

Glenroy Miller
Defendant

Date: ey i = 27

I certify that Glenroy Miller has read this Agreement and that we have discussed what it means.
I believe Mr. Miller understands the Agreement and is entering into it freely, voluntarily, and knowingly.
Lalso certify that the U.S. Attorney has not extended any other offers regarding a change of plea in these
cases.

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Cara McNamara, Esq.
Attorney for Defendant

Date: é/9/ as
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